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FOR THE DISTRICT OF NEW MEXICO M NA)/ 2 1 2078 »*\»‘C,=
UNITED STATES OF AMERICA, )
Plaintiff, §
vs. § Cr. No. lO-CR-1534 JAP
EDWARD CHRISTY, §
Defendant. §

PLEA AGREEMENT
Pursuant to Rule ll(c)(l)(C), Fed. R. Crim. P., the parties notify the Court of the
following agreement between the United States Attorney for the District of New Mexico, the
Defendant, EDWARD CHRISTY, and the Defendant’s counsel, Todd Coberly:
REPRESENTATION BY COUNSEL
` l. The Defendant understands the Defendant’s right to be represented by an attorney
and is so represented The Defendant has thoroughly reviewed all aspects of this case with the
Defendant’s attorney and is fully satisfied with that attorney’s legal representation.
l RIGHTS oF THE DEFENDANT
2. The Defendant further understands the Defendant’s rights:
a. to be prosecuted by indictment;
b. to plead not guilty, or having already so pleaded, to persist in that plea;
c. to have a trial by jury; and
` d. at a trial:

l) to confront and cross-examine adverse Witnesses,

 

 

 

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2) to be protected from compelled self-incrimination,
3) to testify and present evidence on the Defendant’s own behalf, and
4) to compel the attendance of witnesses for the defense.

WAIVER OF RIGHTS AND PLEA OF GUILTY
3. The Defendant agrees to waive these rights and to plead guilty to Count 2 of the
superseding indictment, charging a violation of 18 U.S.C. §§ 2252(a)(4)(B), 2252(b)(2), and
2256, that being possession of matter containing visual depictions of minors engaged in sexually

explicit conduct.

` SENTENCING
1 4. The Defendant understands that the maximum penalty provided by law for this
offense is:
a. imprisonment for a period of not more than 10 years;
b. a fine not to exceed the greater of $250,0()0 or twice the pecuniary gain to

the Defendant or pecuniary loss to the victim;

c. a term of supervised release of not less than 5 years and not more than life
that must follow any term of imprisonment (lf the Defendant serves a
term of imprisonment, is then released on supervised release, and violates
the conditions of supervised release, the Defendant’s supervised release
could be revoked _ even on the last day of the term - and the Defendant
could then be returned to another period of incarceration and a new term
of supervised release.);

d. a mandatory special penalty assessment of $100.00; and

 

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e. restitution as may be ordered by the Court.

5. The parties recognize that the federal sentencing guidelines are advisory, and that
the Court is required to consider them in determining the sentence it imposes.

6. The parties are aware that the Court will decide whether to accept or reject this plea
agreement The Court may defer its decision as to acceptance or rejection until there has been an
opportunity to consider the presentence report. Pursuant to Federal Rule of Criminal Procedure
ll(c)(5), if the Court rejects this plea agreement, the defendant shall have the right to withdraw
the defendant’s plea of guilty.

7. Regardless of any other provision in this agreement, the United States reserves the
right to provide to the United States Pretrial Services and Probation Offlce and to the Court any
information the United States believes may be helpful to the Court, including but not limited to
information about the recommendations contained in this agreement and any relevant conduct
under U.S.S.G. § lBl.3.

ELEMENTS OF THE OFFENSE

8. If this matter proceeded to trial, the Defendant understands that the United States
would be required to prove, beyond a reasonable doubt, the following elements for violations of
the charges listed below:

First: The defendant knowingly possessed one or more matter that contained
any visual depiction of a minor engaging in sexually explicit conduct;

Second: The production of the visual depiction involved the use of a minor
engaging in sexually explicit conduct;

Third: The visual depiction was of a minor engaging in sexually explicit
conduct;

 

 

 

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Fourth: The defendant knew that the visual depiction involved the use of a minor
engaging in sexually explicit conduct; and

Fifth: The visual depiction had been either
(a) transported in interstate or foreign commerce, or

(b) produced using material that had been transported in interstate or
foreign commerce by computer or other means.

DEFENDANT'S ADMISSION OF FACTS

9. By my signature on this plea agreement, I am acknowledging that l am pleading
guilty because I am, in fact, guilty of the offense(s) to which l am pleading guilty. I recognize
and accept responsibility for my criminal conduct. Moreover, in pleading guilty, I acknowledge
that if l chose to go to trial instead of entering this plea, the United States could prove facts
sufficient to establish my guilt of the offense(s) to which l am pleading guilty beyond a
reasonable doubt, including any facts alleged in the superseding indictment that increase the
statutory minimum or maximum penalties. I specifically admit the following facts related to the
charges against me, and declare under penalty of perjury that all of these facts are true and

correct:

On November 9, 2009, BCSO and FBI investigators executed a search warrant at my
Albuquerque residence. On that date, the investigators seized computers and computer-related
media that belonged to me, including a Hewlett Packard HDX l6 laptop, a Memorex Travel
Drive lGB USB, a USB 64 MB Flash Drive, an Imation 700 MB CD titled "backups", an
Iomega PC l 00 Zip Disk titled "Ed Christy lab," a SyQuest 135 MB Tape Drive, and a TC
Desktop Computer With a Westem Digital Hard Drive. I am aware that investigators conducted
a forensic examination of my seized computers and computer-related media during which they
located numerous images of child pornography. I am also aware that investigators sent the child
pornography images that l possessed on my computers and computer-related media to the
National Center for Missing and Exploited Children (NCMEC), which confirmed that I
possessed pornographic images of real, known children who were under the age of 18.

l admit that one of the images that I knowingly possessed on my Hewlett Packard HDX 16
laptop, with the internal Toshiba Hard Drive, was an image titled “JPEG_5796074.jpg.” l am

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aware that NCMEC confirmed that this image was from the known series of child pornography
identified as the Ali series. I admit that this image depicts a young child with an adult penis in
her mouth. Another image that I admit that l knowingly possessed on this computer was an
image titled “1101091944.jpg.” l admit that this image is a close-up of the vagina of a girl l
knew to be under the age of 18.

l am aware and admit that my Hewlett Packard HDX 16 laptop, with the internal Toshiba Hard
Drive, which produced the child pornography images, was not manufactured in New Mexico and
must have traveled in interstate commerce to have been possessed by me in New Mexico on
November 9, 2009.

In summary, 1 admit that on November 9, 2009, while in Bernalillo County, District of New
Mexico, I knowingly possessed a matter containing visual depictions that had been produced
using materials which had been shipped and transported in interstate and foreign commerce and
the production of these images involved the use of a minor engaging in sexually explicit conduct
and is of such conduct. Specifically, l possessed visual depictions of minors engaged in
sexually explicit conduct on my Hewlett Packard HDX 16 laptop, with the internal Toshiba Hard
Drive. I knew it was illegal for me to possess such images.

10. By signing this agreement, the Defendant admits that there is a factual basis for
each element of the crime(s) to which the Defendant is pleading guilty. The Defendant agrees
that the Court may rely on any of these facts, as well as facts in the presentence report, to
determine the Defendant’s sentence, including, but not limited to, the advisory guideline offense
level.

RECOMMENDATIONS

11. The United States and the Defendant recommend as follows:

a. The Defendant and the United States have made an AGREEMENT
pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), that a specific
sentence of time served, followed by a ten-year term of supervised release
is the appropriate disposition in this case. This agreement takes into

account the Defendant’s acceptance of responsibility, with no further

reduction to occur.

 

 

 

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b. lf the Court accepts the plea agreement, it must inform the Defendant that
the agreed upon disposition will be included in the judgment, and the
Court is bound by the terms of the plea agreement once the Court accepts
the plea agreement
DEFENDANT’S ADDITIONAL AGREEMENT

12. The Defendant understands the Defendant’s obligation to provide the United
States Pretrial Services and Probation Office with truthful, accurate, and complete information
The Defendant represents that the Defendant has complied with and will continue to comply with
this obligation.

13. Except under circumstances where the Court, acting on its own, rejects this plea
agreement, the Defendant agrees that, upon the Defendant’s signing of this plea agreement, the
facts that the Defendant has admitted under this plea agreement as set forth above, as well as any
facts to which the Defendant admits in open court at the Defendant’s plea hearing, shall be
admissible against the Defendant under Federal Rule of Evidence 801(d)(2)(A) in any
subsequent proceeding, including a criminal trial, and the Defendant expressly waives the
Defendant’s rights under Federal Rule of Criminal Procedure ll(f) and Federal Rule of Evidence
410 with regard to the facts the Defendant admits in conjunction with this plea agreement.

14. By signing this plea agreement, the defendant waives the right to withdraw the
defendant’s plea of guilty pursuant to Federal Rule of Criminal Procedure ll(d) unless (1) the
court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure l 1(c)(5) or (2)
the defendant can show a fair and just reason as those terms are used in Rule 11(d)(2)(B) for

requesting the withdrawal Furthermore, defendant understands that if the court rejects the plea

 

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agreement, whether or not defendant withdraws the guilty plea, the United States is relieved of
any obligation it had under the agreement and defendant shall be subject to prosecution for any
federal, state, or local crime(s) which this agreement otherwise anticipated would be dismissed
or not prosecuted.

15. The Defendant recognizes that this plea agreement has already conferred a benefit
on the Defendant. Consequently, in return for the benefit conferred on the Defendant by
entering into this agreement, the Defendant agrees not to seek a downward departure or variance
from the specific sentence of time served, followed by a ten-year term of supervised release, as
agreed to by the parties pursuant to Rule ll(c)(l)(C) of the Federal rules of Criminal Procedure.
If the Defendant, in violation of this paragraph, should nevertheless seek a downward departure
or variance, including a departure or variance from the guideline Criminal History Category, the
United States shall have the right to treat this plea agreement as null and void and to proceed to
trial on all charges before the Court.

RESTITUTION

16. The parties agree that, as part of the Defendant’s sentence, the Court will enter an
order of restitution pursuant to the Mandatory Victim’s Restitution Act, 18 U.S.C. § 3663A. ln
this case, the Defendant agrees to pay any amounts remaining unpaid associated with his prior
agreement to pay restitution in the amount of $5 00 to the victim of the “Vicky” series. See Doc.
195 at 4, 11 7.b. No later than July 1 of each year after sentencing, until restitution is paid in full,
the Defendant shall provide the Asset Recovery Unit, United States Attorney’s Office, P.O. Box

607, Albuquerque, New Mexico 87103, (1) a completed and signed financial statement provided

 

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to the Defendant by the United States Attorney’s Office and/or the United States Probation
Office and (2) a copy of the Defendant’s most recent tax returns.
FORFEITURE

17. The Defendant agrees to forfeit, and hereby forfeits, whatever interest the
Defendant may have in any asset derived from or used in the commission of the offense(s) in this
case. The Defendant agrees to cooperate fully in helping the United States (a) to locate and
identify any such assets and (b) to the extent possible, to obtain possession and/or ownership of
all or part of any such assets. The Defendant further agrees to cooperate fully in helping the
United States locate, identify, and obtain possession and/or ownership of any other assets about
which the Defendant may have knowledge that were derived from or used in the commission of
offenses committed by other persons.

18. The Defendant voluntarily and immediately agrees to the administrative, civil, or
criminal forfeiture to the United States all of the Defendant’s right, title, and interest in the
following assets and properties:

a. Hewlett Packard HDX 16 Laptop, Serial Number CNF9241 L65, with an
internal Toshiba hard drive MK3255GSX, Serial Number 6981F9ZNS;

b. Memorex Travel Drive 2 GB USB;

c. USB 64MB F lash Drive;

d. Imation 700 MB CD "backups";

e. Iomega PC 100 Zip Disk, 100 MB "Ed Christy lab";
f. SyQuest Tape Drive, 135mb; and

g. TC Computer Desktop, with Westem Digital 8GB Hard Drive, Serial
Number WT527.

 

 

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l9. The Defendant agrees to fully assist the United States in the forfeiture of the
above-described property and to take whatever steps are necessary to pass clear title to the
United States, including but not limited to execution of any documents necessary to transfer the
Defendant’s interest in the above-described property to the United States.

20. The Defendant agrees to waive the right to notice of any forfeiture proceeding
involving the above-described property.

21. The Defendant knowingly and voluntarily waives the right to a jury trial on the
forfeiture of the above-described property. The Defendant knowingly and voluntarily waives all
constitutional, legal, and equitable defenses to the forfeiture of said property in any proceeding
The Defendant agrees to waive any jeopardy defense or claim of double jeopardy, whether
constitutional or statutory, and agrees to waive any claim or defense under the Eighth
Amendment to the United States Constitution, including any claim of excessive fine, to the
forfeiture of said property by the United States or any State or its subdivisions

SEX OFFENDER REGISTRATION AND NOTIFICATION

22. The Defendant understands that by pleading guilty, the Defendant will be required
to register as a sex offender upon the Defendant’s release from prison as a condition of
supervised release pursuant to 18 U.S.C. § 3583(d). The Defendant also understands that
independent of supervised release, the Defendant will be subject to federal and state sex offender
registration requirements, and that those requirements may apply throughout the Defendant’s life.
The Defendant understands that the Defendant shall keep the Defendant’s registration current,
shall notify the state sex offender registration agency or agencies of any changes to the

Defendant’s name, place of residence, employment, or student status, or other relevant

 

 

 

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information within three business days after such change. The Defendant shall comply with
requirements to periodically verify in person the Defendant’s sex offender registration
information. The Defendant understands that the Defendant will be subject to possible federal
and state penalties for failure to comply with any such sex offender registration requirements. If
the Defendant resides in New Mexico following release from prison, the Defendant will be
subject to the registration requirements of New Mexico. The Defendant further understands
that, under 18 U.S.C. § 4042(0), notice will be provided to certain law enforcement agencies
upon the Defendant’s release from confinement following conviction.

23. As a condition of supervised release, the Defendant shall initially register with the
state sex offender registration in New Mexico, and shall also register with the state sex offender
registration agency in any state where the Defendant resides, is employed, works, or is a student,
as directed by the Probation Officer. The Defendant shall comply with all requirements of
federal and state sex offender registration laws, including the requirements to update the
Defendant’s registration information. The Defendant shall provide proof of registration to the
Probation Officer within 72 hours of release from imprisonment

WAIVER OF APPEAL RIGHTS

24. The Defendant is aware that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 afford a
defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the
Defendant knowingly waives the right to appeal the Defendant’s conviction(s) and any sentence,
including any fine, imposed in conformity with this Fed. R. Crim. P. ll(c)(l)(C) plea agreement,
as well as any order of restitution entered by the Court. In addition, the Defendant agrees to

waive any collateral attack to the Defendant’s conviction(s) and any sentence, including any fine,

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pursuant to 28 U.S.C. §§ 2241 or 2255, or any other extraordinary writ, except on the issue of
defense counsel’s ineffective assistance.
GOVERNMENT’S ADDITIONAL AGREEMENT

25. Provided that the Defendant fulfills the Defendant’s obligations as set out above,
the United States agrees that the United States will not bring additional criminal charges against
the Defendant arising out of the facts forming the basis of the present superseding indictment

26. This agreement is limited to the United States Attorney’s Office for the District of
New Mexico and does not bind any other federal, state, or local agencies or prosecuting
authorities.

VOLUNTARY PLEA

27. The Defendant agrees and represents that this plea of guilty is freely and
voluntarily made and is not the result of force, threats, or promises (other than the promises set
forth in this agreement and any addenda). The Defendant also represents that the Defendant is
pleading guilty because the Defendant is in fact guilty. v

VIOLATION OF PLEA AGREEMENT

28. The Defendant agrees that if the Defendant violates any provision of this
agreement the United States may declare this agreement null and void, and the Defendant will
thereafter be subject to prosecution for any criminal violation, including but not limited to any
crime(s) or offense(s) contained in or related to the charges in this case, as well as perjury, false
statement, obstruction of justice, and any other crime committed by the Defendant during this

prosecution.

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SPECIAL ASSESSMENT

29. At the time of sentencing, to the extent that the Defendant has not already done so
pursuant to provisions contained in his prior plea agreement, see Doc. 195 at 16-17, 11 28, the
Defendant will tender to the United States District Court, District of New Mexico, 333 Lomas
Blvd. NW, Suite 270, Albuquerque, New Mexico 87102, a money order or certified check
payable to the order of the United States District Court in the amount of $1@ in payment of
the special penalty assessment described above.

ENTIRETY OF AGREEMENT

30. This document and any addenda are a complete statement of the agreement in this
case and may not be altered unless done so in writing and signed by all parties. This agreement
is effective upon signature by the Defendant an<}r an Assistant United States Attorney.

AGREED TO AND SIGNED this Z_ié day of , 2018.

JOHN C. ANDERSON
` tat s Attorney

 
  

Hdllan S. liasirin

Sarah J. Mease

Assistant United States Attorneys
Post Office Box 607
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l have carefully discussed every part of this agreement with my client Further, l have
fully advised my client of my client’s rights, of possible defenses, of the sentencing factors set
forth in 18 U.S.C. § 3553(a), of the relevant Sentencing Guidelines provisions, and of the
consequences of entering into this agreement In addition, l have explained to my client the
elements to each offense to which she/he is pleading guilty. To my knowledge, my client’s
decision to enter into this agreement is an informed and voluntary one.

r?dd coberly %
Attorney for the Defendant

I have carefully discussed every part of this agreement With my attorney. l understand
the terms of this agreement and I voluntarily agree to those terms. My attorney has advised me
of my rights, of possible defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of
the relevant Sentencing Guidelines provisions, and of the consequences of entering into this

agreement
E`i')wARi) CHRI`sT`Y ' l
Defendant

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